






Opinion issued March 8, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00157-CV






In the Interest of M.F.L.






On Appeal from the 313th District Court

Harris County, Texas

Trial Court Cause No. 2005-00178J






MEMORANDUM OPINION	Appellant has neither established indigence, nor paid or made arrangements to
pay the clerk's fee for preparing the clerk's record.  See Tex. R. App. P. 20.1 (listing
requirements for establishing indigence), 37.3(b) (allowing dismissal of appeal if no
clerk's record filed due to appellant's fault).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(c) (allowing involuntary dismissal of case).

	The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk's fee.  All pending motions are denied.

PER CURIAM

Panel consists of Justices Taft, Alcala, and Hanks.


